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 6
                                  UNITED STATES DISTRICT COURT
 7
                               NORTHERN DISTRICT OF CALIFORNIA
 8
   PAUL PARSHALL, On Behalf of Himself and                  Case No. ____________________
 9 All Others Similarly Situated,
                                                            CLASS ACTION
10                           Plaintiff,
11           v.                                             COMPLAINT FOR VIOLATION OF
                                                            THE SECURITIES EXCHANGE ACT
12 UNITED AMERICAN BANK, NICHOLAS J.                        OF 1934
   SCHRUP, III, JOHN C. SCHRUP, NORMAN
13 I. BOOK, JR., JAY PAUL LEUPP, DENNIS C.                  JURY TRIAL DEMANDED
   DISALVO, MARGARET A. TAYLOR,
14 WILLIAM W. HILL, STEPHEN A. WAY,
   GUY ROUNSAVILLE, JR., HOWARD J.
15 WEILAND, ROSANNE FOUST, RONALD L.
   BLAND, HERITAGE COMMERCE CORP,
16 and HERITAGE BANK OF COMMERCE,

17                           Defendants.
18
            Plaintiff, by and through his attorneys, alleges upon personal knowledge as to himself,
19
     and upon information and belief based upon, among other things, the investigation of counsel as
20
     to all other allegations herein, as follows:
21
                                          SUMMARY OF THE ACTION
22
            1.      This action stems from a proposed transaction announced on January 11, 2018
23

24 (the “Proposed Transaction”), pursuant to which United American Bank (“UAB” or the

25 “Company”) will be acquired by Heritage Commerce Corp (“Parent”) and Heritage Bank of

26 Commerce (“Merger Sub,” and together with Parent, “Heritage”).

27          2.      On January 10, 2018, UAB’s Board of Directors (the “Board” or “Individual
28
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 1 Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

 2 Agreement”) with Heritage. Pursuant to the terms of the Merger Agreement, shareholders of

 3
     UAB will receive 2.1644 Parent common shares for each share of UAB they own.
 4
            3.      On February 26, 2018, defendants filed a Form S-4 Registration Statement (the
 5
     “Registration Statement”) with the United States Securities and Exchange Commission (“SEC”)
 6
     in connection with the Proposed Transaction.
 7

 8          4.      The Registration Statement omits material information with respect to the

 9 Proposed Transaction, which renders the Registration Statement false and misleading.

10 Accordingly, plaintiff alleges herein that defendants violated Sections 14(a) and 20(a) of the

11
     Securities Exchange Act of 1934 (the “1934 Act”) in connection with the Registration Statement.
12
                                      JURISDICTION AND VENUE
13
            5.      This Court has jurisdiction over all claims asserted herein pursuant to Section 27
14
     of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the
15
     1934 Act and Rule 14a-9.
16
            6.      This Court has jurisdiction over defendants because each defendant is either a
17
     corporation that conducts business in and maintains operations within this District, or is an
18
     individual with sufficient minimum contacts with this District so as to make the exercise of
19
     jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.
20
            7.      Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the
21
     transactions and wrongs complained of herein occurred in this District.
22
                                                  PARTIES
23
            8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the
24
     owner of United American Bank common stock.
25
            9.      Defendant UAB is a California corporation and maintains its principal executive
26
     offices at 150 Almaden Boulevard, San Jose, California 95113. UAB common stock is traded
27

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 1 OTC under the ticker symbol “UABK.”

 2          10.     Defendant Nicholas J. Schrup, III serves as Chairman of the Board of UAB.

 3          11.     Defendant John C. Schrup serves as President and Chief Executive Officer of

 4 UAB.

 5          12.     Defendant Norman I. Book, Jr. is a director of UAB.

 6          13.     Defendant Jay Paul Leupp is a director of UAB.

 7          14.     Defendant Dennis C. DiSalvo is a director of UAB.

 8          15.     Defendant Margaret A. Taylor is a director of UAB.

 9          16.     Defendant William W. Hill is a director of UAB.

10          17.     Defendant Stephen A. Way is a director of UAB.

11          18.     Defendant Guy Rounsaville, Jr. is a director of UAB.

12          19.     Defendant Howard J. Weiland is a director of UAB.

13          20.     Defendant Rosanne Foust is a director of UAB

14          21.     Defendant Ronald L. Bland is a director of UAB.

15          22.     The defendants identified in paragraphs 10 through 21 are collectively referred to

16 herein as the “Individual Defendants.”

17          23.     Defendant Parent is a California corporation and a party to the Merger

18 Agreement.

19          24.     Defendant Merger Sub is a California banking corporation, a wholly-owned

20 subsidiary of Parent, and a party to the Merger Agreement.

21                                 CLASS ACTION ALLEGATIONS
22          25.     Plaintiff brings this action as a class action on behalf of himself and the other

23 public stockholders of UAB (the “Class”). Excluded from the Class are defendants herein and

24 any person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

25          26.     This action is properly maintainable as a class action.

26          27.     The Class is so numerous that joinder of all members is impracticable. As of

27 February 26, 2018, there were approximately 950,178 shares of UAB common stock outstanding,

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 1 held by hundreds, if not thousands, of individuals and entities scattered throughout the country.

 2          28.     Questions of law and fact are common to the Class, including, among others,

 3 whether defendants violated the 1934 Act and whether defendants will irreparably harm plaintiff

 4 and the other members of the Class if defendants’ conduct complained of herein continues.

 5          29.     Plaintiff is committed to prosecuting this action and has retained competent

 6 counsel experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the

 7 other members of the Class and plaintiff has the same interests as the other members of the

 8 Class. Accordingly, plaintiff is an adequate representative of the Class and will fairly and

 9 adequately protect the interests of the Class.

10          30.     The prosecution of separate actions by individual members of the Class would

11 create the risk of inconsistent or varying adjudications that would establish incompatible

12 standards of conduct for defendants, or adjudications that would, as a practical matter, be

13 dispositive of the interests of individual members of the Class who are not parties to the

14 adjudications or would substantially impair or impede those non-party Class members’ ability to

15 protect their interests.

16          31.     Defendants have acted, or refused to act, on grounds generally applicable to the

17 Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

18 behalf of the Class is appropriate.

19                                 SUBSTANTIVE ALLEGATIONS
20          32.     UAB is a full-service commercial bank located in San Mateo County with full

21 service branches located in San Mateo, Redwood City, and Half Moon Bay, California. At

22 September 30, 2017, the Company had approximately $336.4 million in assets, $225.0 million in

23 net loans, and $303.9 million in deposits.

24          33.     On January 10, 2018, the Individual Defendants caused the Company to enter into

25 the Merger Agreement with Heritage.

26          34.     Pursuant to the terms of the Merger Agreement, shareholders of UAB will receive

27 2.1644 Parent common shares for each share of UAB they own.

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 1         35.     On February 26, 2018, defendants filed the Registration Statement with the SEC

 2 in connection with the Proposed Transaction.

 3         36.     The Registration Statement omits material information with respect to the

 4 Proposed Transaction, which renders the Registration Statement false and misleading.

 5         37.     First, the Registration Statement omits material information regarding UAB’s

 6 financial projections, Heritage’s financial projections, and the financial analyses performed by

 7 the Company’s financial advisor, Sandler O’Neill + Partners, L.P. (“Sandler”).

 8         38.     With respect to Sandler’s United American Bank Net Present Value Analyses, the

 9 Registration Statement fails to disclose: (i) the “internal forecasts for United American Bank for

10 the years ending December 31, 2017 through December 31, 2021, as provided by the senior

11 management of United American Bank”; (ii) the terminal value of a share of United American

12 Bank common stock at December 31, 2021; (iii) Sandler’s basis for applying price to 2021

13 earnings per share multiples ranging from 10.0x to 18.0x and price to December 31, 2021

14 tangible book value per share multiples ranging from 100% to 150%; and (iv) the inputs and

15 assumptions underlying the discount rates ranging from 10.0% to 15.0%.

16         39.     With respect to Sandler’s Heritage Net Present Value Analyses, the Registration

17 Statement fails to disclose: (i) the “consensus mean analyst earnings per share estimates for

18 Heritage for the years ending December 31, 2018 and December 31, 2019, as adjusted by the

19 senior management of Heritage for certain tax rate changes”; (ii) the “estimated long-term annual

20 earnings per share growth rate for the years thereafter and dividend payout ratio, as provided by

21 the senior management of Heritage”; (iii) the terminal value of Heritage common stock at

22 December 31, 2021; (iv) Sandler’s basis for applying price to 2021 earnings per share multiples

23 ranging from 14.0x to 18.0x and price to December 31, 2021 tangible book value per share

24 multiples ranging from 160% to 260%; and (v) the inputs and assumptions underlying the

25 discount rates ranging from 9.0% to 15.0%.

26         40.      With respect to Sandler’s Pro Forma Merger Analysis, the Registration

27 Statement fails to disclose: (i) the “internal financial projections for United American Bank for

28                                      5
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 1 the years ending December 31, 2018 through December 31, 2021, as provided by the senior

 2 management of United American Bank and adjusted by the senior management of Heritage”; (ii)

 3 the “consensus mean analyst earnings per share estimates for Heritage for the years ending

 4 December 31, 2018 and December 31, 2019, as adjusted by the senior management of Heritage

 5 for certain tax rate changes”; (iii) the “long-term annual earnings per share growth rate for the

 6 years thereafter and dividend payout ratio, as provided by the senior management of Heritage”;

 7 and (iv) the assumptions relating to purchase accounting adjustments, cost savings, transaction

 8 expenses, retirement of the preferred stock issued by UAB, and Heritage’s currently pending

 9 acquisition of Tri-Valley Bank as provided by the senior management of Heritage.

10          41.    With respect to Sandler’s United American Bank Comparable Company Analyses,

11 the Registration Statement fails to disclose the individual multiples and financial metrics for the

12 companies observed by Sandler in the analysis.

13          42.    With respect to Sandler’s Analysis of Selected Merger Transactions, the

14 Registration Statement fails to disclose the individual multiples and financial metrics for the

15 transactions observed by Sandler in the analysis.

16          43.    With respect to Sandler’s Heritage Comparable Company Analyses, the

17 Registration Statement fails to disclose the individual multiples and financial metrics for the

18 companies observed by Sandler in the analysis.

19          44.    The disclosure of projected financial information is material because it provides

20 stockholders with a basis to project the future financial performance of a company, and allows

21 stockholders to better understand the financial analyses performed by the company’s financial

22 advisor in support of its fairness opinion. Moreover, when a banker’s endorsement of the

23 fairness of a transaction is touted to shareholders, the valuation methods used to arrive at that

24 opinion as well as the key inputs and range of ultimate values generated by those analyses must

25 also be fairly disclosed.

26          45.    Second, the Registration Statement omits material information regarding potential

27 conflicts of interest of Sandler.

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 1          46.     Specifically, the Registration Statement fails to disclose all of the services Sandler

 2 has provided to Heritage and its affiliates in the past two years, as well as the amount of

 3 compensation received by Sandler for such services.

 4          47.     Full disclosure of investment banker compensation and all potential conflicts is

 5 required due to the central role played by investment banks in the evaluation, exploration,

 6
     selection, and implementation of strategic alternatives.
 7
            48.     Third, the Registration Statement fails to disclose whether any non-disclosure
 8
     agreements executed by the Company and the prospective bidders contained standstill and/or
 9
     “don’t ask, don’t waive” provisions that are or were preventing those counterparties from
10

11 submitting superior offers to acquire the Company.

12          49.     Without this information, stockholders may have the mistaken belief that, if these
13 potentially interested parties wished to come forward with a superior offer, they are or were

14
     permitted to do so, when in fact they are or were contractually prohibited from doing so.
15
            50.     Fourth, the Registration Statement omits material information regarding potential
16
     conflicts of interest of the Company’s officers and directors.
17

18          51.     Specifically, the Registration Statement fails to disclose the timing and nature of

19 all communications regarding future employment and directorship of the Company’s officers and

20 directors, including who participated in all such communications.

21          52.     Communications regarding post-transaction employment during the negotiation of
22
     the underlying transaction must be disclosed to stockholders. This information is necessary for
23
     stockholders to understand potential conflicts of interest of management and the Board, as that
24
     information provides illumination concerning motivations that would prevent fiduciaries from
25

26 acting solely in the best interests of the Company’s stockholders.

27

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 1          53.    Fifth, the Registration Statement fails to disclose the terms and value of Company

 2 B’s indication of interest submitted to the Company in September 2017.

 3
            54.    The omission of the above-referenced material information renders the
 4
     Registration Statement false and misleading, including, inter alia, the following sections of the
 5
     Registration Statement:    (i) Background of the Merger; (ii) Reasons for the Merger and
 6
     Recommendation of the United American Bank Board of Directors; (iii) Opinion of United
 7
     American Bank’s Financial Advisor; and (iv) Interests of United American Bank Directors’ and
 8
     Executive Officers’ in the Merger.
 9
            55.    The above-referenced omitted information, if disclosed, would significantly alter
10
     the total mix of information available to UAB’s stockholders.
11
                                                 COUNT I
12
          Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
13                   Thereunder Against the Individual Defendants and UAB

14          56.    Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

15          57.    The Individual Defendants disseminated the false and misleading Registration

16 Statement, which contained statements that, in violation of Section 14(a) of the 1934 Act and

17 Rule 14a-9, in light of the circumstances under which they were made, omitted to state material

18 facts necessary to make the statements therein not materially false or misleading. UAB is liable

19 as the issuer of these statements.

20          58.    The Registration Statement was prepared, reviewed, and/or disseminated by the

21 Individual Defendants.      By virtue of their positions within the Company, the Individual

22 Defendants were aware of this information and their duty to disclose this information in the

23 Registration Statement.

24          59.    The Individual Defendants were at least negligent in filing the Registration

25 Statement with these materially false and misleading statements.

26          60.    The omissions and false and misleading statements in the Registration Statement

27 are material in that a reasonable stockholder will consider them important in deciding how to

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 1 vote on the Proposed Transaction. In addition, a reasonable investor will view a full and

 2 accurate disclosure as significantly altering the total mix of information made available in the

 3 Registration Statement and in other information reasonably available to stockholders.

 4          61.     The Registration Statement is an essential link in causing plaintiff and the

 5 Company’s stockholders to approve the Proposed Transaction.

 6          62.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

 7 Rule 14a-9 promulgated thereunder.

 8          63.     Because of the false and misleading statements in the Registration Statement,

 9 plaintiff and the Class are threatened with irreparable harm.

10                                               COUNT II

11                        Claim for Violation of Section 20(a) of the 1934 Act
                           Against the Individual Defendants and Heritage
12
            64.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.
13
            65.     The Individual Defendants and Heritage acted as controlling persons of UAB
14
     within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their
15
     positions as officers and/or directors of UAB and participation in and/or awareness of the
16
     Company’s operations and/or intimate knowledge of the false statements contained in the
17
     Registration Statement, they had the power to influence and control and did influence and
18
     control, directly or indirectly, the decision making of the Company, including the content and
19
     dissemination of the various statements that plaintiff contends are false and misleading.
20
            66.     Each of the Individual Defendants and Heritage was provided with or had
21
     unlimited access to copies of the Registration Statement alleged by plaintiff to be misleading
22
     prior to and/or shortly after these statements were issued and had the ability to prevent the
23
     issuance of the statements or cause them to be corrected.
24
            67.     In particular, each of the Individual Defendants had direct and supervisory
25
     involvement in the day-to-day operations of the Company, and, therefore, is presumed to have
26
     had the power to control and influence the particular transactions giving rise to the violations as
27

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 1 alleged herein, and exercised the same. The Registration Statement contains the unanimous

 2 recommendation of the Individual Defendants to approve the Proposed Transaction. They were

 3 thus directly involved in the making of the Registration Statement.

 4          68.     Heritage also had direct supervisory control over the composition of the

 5 Registration Statement and the information disclosed therein, as well as the information that was

 6 omitted and/or misrepresented in the Registration Statement.

 7          69.     By virtue of the foregoing, the Individual Defendants and Heritage violated

 8 Section 20(a) of the 1934 Act.

 9          70.     As set forth above, the Individual Defendants and Heritage had the ability to

10 exercise control over and did control a person or persons who have each violated Section 14(a)

11 of the 1934 Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their

12 positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934

13 Act.    As a direct and proximate result of defendants’ conduct, plaintiff and the Class are

14 threatened with irreparable harm.

15                                      PRAYER FOR RELIEF

16          WHEREFORE, plaintiff prays for judgment and relief as follows:
17
            A.      Enjoining defendants and all persons acting in concert with them from proceeding
18
     with, consummating, or closing the Proposed Transaction;
19
            B.      In the event defendants consummate the Proposed Transaction, rescinding it and
20
     setting it aside or awarding rescissory damages;
21

22          C.      Directing the Individual Defendants to file a Registration Statement that does not

23 contain any untrue statements of material fact and that states all material facts required in it or

24 necessary to make the statements contained therein not misleading;

25
            D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as
26
     well as Rule 14a-9 promulgated thereunder;
27

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 1          E.     Awarding plaintiff the costs of this action, including reasonable allowance for

 2 plaintiff’s attorneys’ and experts’ fees; and

 3
            F.     Granting such other and further relief as this Court may deem just and proper.
 4
                                            JURY DEMAND
 5
            Plaintiff hereby demands a trial by jury.
 6
                                                        RIGRODSKY & LONG, P.A.
 7 Dated: March 16, 2018

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28                                     11
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